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           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

                 KOSS CORPORATION,
                       Appellant

                             v.

  KATHERINE K. VIDAL, Under Secretary of Com-
 merce for Intellectual Property and Director of the
    United States Patent and Trademark Office
                      Intervenor

                  ______________________

                   2022-2091, 2022-2115
                  ______________________

     Appeals from the United States Patent and Trademark
 Office, Patent Trial and Appeal Board in Nos. IPR2021-
 00305 and IPR2021-00381.
                  ______________________

                        ORDER
     Upon consideration of the notice of intervention, ECF
 No. 13,
    IT IS ORDERED THAT:
     (1) The revised official caption and revised short cap-
 tion are reflected above.
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 2                                 KOSS CORPORATION v. VIDAL




     (2) The intervenor is directed to file a docketing state-
 ment no later than 14 days from the date of filing of this
 order.
                                    FOR THE COURT

 September 27, 2022                 /s/ Peter R. Marksteiner
       Date                         Peter R. Marksteiner
                                    Clerk of Court
